                          UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

                                                        )    Chapter 11
In re:                                                  )
                                                        )    Case No. 18-50757
                                             1
FIRSTENERGY SOLUTIONS CORP., et al.,                    )    (Jointly Administered)
                                                        )
                             Debtors.                   )
                                                        )    Hon. Judge Alan M. Koschik
                                                        )
                                                        )
FIRSTENERGY SOLUTIONS CORP., et al.,                    )
                                                        )
                             Plaintiffs,                )
                                                        )    Adv. 18-05021-AMK
                     v.                                 )
                                                        )
FEDERAL ENERGY REGULATORY                               )
COMMISSION,                                             )
                                                        )
                             Defendant.                 )
                                                        )


          DEBTORS’ MOTION TO STRIKE OR, IN THE ALTERNATIVE,
    OPPOSITION TO OHIO VALLEY ELECTRIC CORPORATION’S MOTION FOR
           EXPEDITED CONSIDERATION OF ABSTENTION MOTION




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal
tax identification number, are: FE Aircraft Leasing Corp. (9245), case no. 18-50759; FirstEnergy
Generation, LLC (0561), case no. 18-50762; FirstEnergy Generation Mansfield Unit 1 Corp.
(5914), case no. 18-50763; FirstEnergy Nuclear Generation, LLC (6394), case no. 18-50760;
FirstEnergy Nuclear Operating Company (1483), case no. 18-50761; FirstEnergy Solutions
Corp. (0186); and Norton Energy Storage L.L.C. (6928), case no. 18-50764. The Debtors’
address is: 341 White Pond Dr., Akron, OH 44320.




18-05021-amk      Doc 96     FILED 05/02/18      ENTERED 05/02/18 23:28:22            Page 1 of 9
       FirstEnergy Solutions Corp. (“FES”) and FirstEnergy Generation, LLC (“FG” and

together with FES, “Plaintiffs”), debtors in the above-captioned chapter 11 cases (together with

their affiliated debtors, the “Debtors”), respectfully submit this opposition to the Ohio Valley

Electric Corporation’s Motion for Expedited Consideration of Abstention Motion, Dkt. 92 (the

“Motion to Expedite”), which asks this Court for expedited briefing and consideration of its

concurrently-filed Motion for Abstention, or, in the Alternative, Referral Under the Doctrine of

Primary Jurisdiction, Dkt. 91 (the “Abstention Motion”). Defendant Federal Energy Regulatory

Commission (“FERC”) has filed a joinder to the Abstention Motion. See Dkt. 95.


                                 PRELIMINARY STATEMENT

       Ohio Valley Electric Corporation (“OVEC”) has been involved in this adversary

proceeding every step of the way. On April 2 OVEC appeared and participated in the first

hearing in this matter, during which this Court granted Plaintiffs’ request for an ex parte

temporary restraining order. On April 16 this Court granted OVEC’s request to intervene. On

April 25, this Court—despite OVEC’s pleas to the contrary—issued an order limiting OVEC to

25 pages in opposition to Plaintiffs’ motion for a preliminary injunction (the “PI Motion”). See

Order Setting Forth Page Limits, Dkt. 71 (the “April 25 Order”). On April 30, OVEC filed a 25-

page brief in opposition to the PI Motion (the “OVEC Opposition”). The next day, May 1,

OVEC filed its 15-page Abstention Motion, along with the Motion to Expedite, asking this Court

to hear the Abstention Motion on May 11 and requiring Plaintiffs to file any opposition to the

Abstention Motion by May 7—the same day that Plaintiffs must file their reply brief responding

to the 75 pages of opposition briefing to the PI Motion. OVEC never mentioned to the parties,

nor to this Court, its intent to file a separate motion in connection with the PI Motion, and it

never sought leave of the Court to file it.



                                               1

18-05021-amk       Doc 96     FILED 05/02/18       ENTERED 05/02/18 23:28:22       Page 2 of 9
       This Court should recognize OVEC’s filing for what it is—an effort to circumvent the

April 25 Order—and strike the Abstention Motion. At best, OVEC remained silent during the

April 24 status conference regarding the planned Abstention Motion knowing that it would be

filing a separate motion that could have been addressed and scheduled at that time. At worst,

OVEC manufactured the Abstention Motion in the face this Court’s 25-page limit. Either way,

the Abstention Motion is a violation of the April 25 Order and the Local Bankruptcy Rules in the

Northern District of Ohio, and this Court should strike the Abstention Motion.


       Alternatively, this Court should deny the Motion to Expedite and set the motion on

regular notice. Granting the request for expedited consideration will reward OVEC’s

gamesmanship and unfairly prejudice Plaintiffs, who are currently responding to the briefing that

this Court scheduled and the parties anticipated in connection with the PI Motion. Any urgency

associated with the timing of OVEC’s filing is of OVEC’s own doing: the Abstention Motion

could have been filed, or at least raised with the Court, at any point since the Court granted the

intervention motion and certainly during the April 24 status conference.


       In addition, OVEC and FERC failed to engage diligently with Plaintiffs to address the

factual record for the upcoming hearing. As a result, the parties are now left scrambling to

produce documents and take depositions in the week leading up to the hearing. OVEC now

demands that—because of its own dilatory tactics—Plaintiffs respond to the OVEC Opposition,

the Abstention Motion, and proceed with document and deposition discovery, all in the same

short window of time. Its position is both unreasonable and untenable.




                                                2

18-05021-amk      Doc 96     FILED 05/02/18         ENTERED 05/02/18 23:28:22        Page 3 of 9
                                          ARGUMENT

   I. The Court Should Strike the Abstention Motion

       Both this Court’s comments at the status conference and its subsequent April 25 Order

were plainly intended to set parameters on the briefing and schedule in advance of the hearing.

The April 25 Order set the “page limits for briefing filed in connection with the . . . [PI Motion].”

April 25 Order at 2. Specifically, OVEC was allowed to “file a brief not exceeding twenty-five

(25) pages in opposition to the PI Motion.” Id. On April 30, OVEC filed the 25-page OVEC

Opposition to the PI Motion. See Dkt. 84. Neither the April 25 Order nor the Local Bankruptcy

Rules contemplated any other briefing from OVEC. See April 25 Order (“Any other party

seeking to file any brief in connection with the PI Motion must seek leave of Court”); LBR

9013-1(c) (“No additional briefing will be considered except upon leave of Court for good cause

shown.”).


       Despite the clear limits in the April 25 Order and the Local Bankruptcy Rules, OVEC

also filed a separate 15-page motion “in connection with” the PI Motion. See Abstention

Motion. OVEC’s request for abstention is premised on its opposition to Plaintiffs’ argument that

this Court has exclusive jurisdiction; indeed, its Abstention Motion only makes sense if this

Court accepts the concurrent jurisdiction arguments in the FERC and OVEC oppositions. See

FERC Opp’n, Dkt. 85 at 16-19; OVEC Opp’n, Dkt. 84 ¶¶ 19-28. Nothing prevented OVEC

from raising the abstention argument in the OVEC Opposition. OVEC’s suggestion that they

were obligated to file a separate motion is incorrect.


       This Court has discretion to sanction OVEC’s violation of the April 25 Order and the

Local Bankruptcy Rules. See, e.g., In re Ready-Mixed Concrete Antitrust Litig., 261 F.R.D. 154,

161 (S.D. Ind. 2009) (“When a party ignores the page limits established by the local rules or by


                                                 3

18-05021-amk       Doc 96     FILED 05/02/18         ENTERED 05/02/18 23:28:22          Page 4 of 9
orders of the court, the court typically strikes the party’s brief or simply strikes the excess

pages.”); see also LBR 9013-1(c).       Accordingly, Plaintiffs ask that this Court strike the

Abstention Motion and dismiss the Motion to Expedite as moot.


II.     Alternatively, the Court Should Deny the Request for Expedited Consideration

        The Local Bankruptcy Rules instruct that a party opposing a motion normally receives 14

days from the date of the service to respond. LBR 9013-1(b). There is no reason to deviate from

that schedule here. In support of its Motion to Expedite, OVEC points to nothing more than the

fact that its Abstention Motion—like the OVEC Opposition—challenges this Court’s authority to

consider Debtors’ Motion for Preliminary Injunctive Relief. OVEC merely underscores the

frivolous nature of its Abstention Motion; it does not show good cause to shorten this Court’s

normal briefing schedule nor provide any reason why the Abstention Motion could not have been

filed earlier.


        As discussed above, OVEC has been conspicuously silent about its intent to file the

Abstention Motion, despite being fully aware that the issues it raises are premised on the exact

issues OVEC sought to raise in the OVEC Opposition. The press of time now is a problem

entirely of OVEC’s own making—and it threatens irreparable harm to Debtors, not OVEC.

There is no reason OVEC could not have announced its intention to file the Abstention Motion at

the April 24 status conference and asked the Court to set an appropriate briefing schedule. Its

tactic now—filing a 15-page Abstention Motion as a supplement to its 25-page opposition, and

then demanding expedited response briefing as well as expedited discovery—smacks of bad

faith, and jeopardizes Plaintiffs’ ability to respond to the opposition papers with a full and fair

consideration of the issues presented therein. Indeed, OVEC’s demand for simultaneous hearing

and consideration on both its Abstention Motion and the OVEC Opposition illuminates its intent


                                                4

18-05021-amk      Doc 96     FILED 05/02/18         ENTERED 05/02/18 23:28:22         Page 5 of 9
to end run around the page limits this Court ordered in connection with the PI Motion. The

Court should not reward such gamesmanship.


                                      CONCLUSION

       For the foregoing reasons, the Court should strike OVEC’s Abstention Motion, or in the

alternative, deny OVEC’s Motion to Expedite.




                                               5

18-05021-amk     Doc 96    FILED 05/02/18          ENTERED 05/02/18 23:28:22     Page 6 of 9
Dated:   May 2, 2018               Respectfully submitted,

                                   /s/ John C. Fairweather
                                   BROUSE MCDOWELL LPA
                                   Marc B. Merklin (0018195)
                                   John C. Fairweather (0018216)
                                   Lisa S. DelGrosso (0064938)
                                   Kate M. Bradley (0074206)
                                   388 South Main Street, Suite 500
                                   Akron, OH 44311-4407
                                   Telephone: (330) 535-5711
                                   Facsimile: (330) 253-8601
                                   mmerklin@brouse.com
                                   jfairweather@brouse.com
                                   ldelgrosso@brouse.com
                                   kbradley@brouse.com

                                    - and -

                                   AKIN GUMP STRAUSS HAUER & FELD LLP
                                   Ira Dizengoff (pro hac vice)
                                   David Zensky (pro hac vice)
                                   Lisa Beckerman (pro hac vice)
                                   Brian Carney (pro hac vice)
                                   Brad Kahn (pro hac vice)
                                   One Bryant Park
                                   New York, New York 10036
                                   Telephone: (212) 872-1000
                                   Facsimile: (212) 872-1002
                                   idizengoff@akingump.com
                                   dzensky@akingump.com
                                   lbeckerman@akingump.com
                                   bcarney@akingump.com
                                   bkahn@akingump.com

                                    - and -

                                   Scott Alberino (pro hac vice)
                                   David Applebaum (pro hac vice)
                                   Todd Brecher (pro hac vice)
                                   Kate Doorley (pro hac vice)
                                   1333 New Hampshire Avenue, N.W.
                                   Washington, D.C. 20036
                                   Telephone: (202) 887-4000
                                   Facsimile: (202) 887-4288



                                          6

18-05021-amk    Doc 96   FILED 05/02/18       ENTERED 05/02/18 23:28:22   Page 7 of 9
                                  salberino@akingump.com
                                  dapplebaum@akingump.com
                                  tbrecher@akingump.com
                                  kdoorley@akingump.com

                                  Proposed Counsel for Debtors
                                  and Debtors in Possession




                                         7

18-05021-amk   Doc 96   FILED 05/02/18       ENTERED 05/02/18 23:28:22   Page 8 of 9
                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this 2nd day of May, 2018, a copy of the

foregoing was filed electronically. Notice of this filing will be sent by operation of the Court’s

electronic filing system to all parties indicated on the electronic filing receipt. Parties may

access this filing through the Court’s system.

                                                        /s/ John C. Fairweather
                                                        John C. Fairweather (0018216)




                                                  i

18-05021-amk       Doc 96     FILED 05/02/18          ENTERED 05/02/18 23:28:22          Page 9 of 9
